         Case 15-17588-VFP        Doc 156     Filed 06/07/22 Entered 06/07/22 14:56:54           Desc Main
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       Marie-Ann Greenberg, MAG-1284
       Marie-Ann Greenberg, Standing Trustee
       30 TWO BRIDGES ROAD
       SUITE 330
       FAIRFIELD, NJ 07004-1550
       973-227-2840
       Chapter 13 Standing Trustee
                                                            UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF NEW JERSEY
       IN RE:
       CARLOS O. MOYENO                                     Case No.: 15-17588VFP

                                                            HEARING DATE: Not Yet Scheduled




          TRUSTEE’S OBJECTION TO DEBTOR(S) APPLICATION FOR PAYMENT OF
                               UNCLAIMED FUNDS

      Marie-Ann Greenberg, the Chapter 13 Standing Trustee Marie-Ann Greenberg, the Chapter 13
   Standing Trustee by way of objection to Debtor(s) Application for Payment of Unclaimed Funds

        The Applicant is not entitled to the Registry Funds as he is not a party in interest, is not the
        owner of record and does not appear to be the owner of record's assignee or legal successor;
        The case referenced in the supporting documents does not appear applicable as it has not been
        established that debtor has negotiated the mailed deposit check or has received any consideration
        from the Applicant;
        The Applicant has not served debtor or debtor's Bankruptcy Counsel.

  Wherefore, Marie-Ann Greenberg, the Chapter 13 Standing Trustee prays that the Debtor(s)
Application for Payment of Unclaimed Funds




   Dated: June 07, 2022                                            By:   /S/Marie-Ann Greenberg
                                                                         Marie-Ann Greenberg, Esquire
                                                                         Chapter 13 Standing Trustee
